           Case 2:10-cr-00223-JAM-KJN Document 555 Filed 03/05/14 Page 1 of 2


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 6
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 7 United States of America

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 9                                IN THE UNITED STATES DISTRICT COURT

10                                    EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                             CASE NO. CR S 10-0223 JAM
12
                                    Plaintiff,             STIPULATION AND ORDER CONTINUING
13                                                         RESTITUTION HEARING
                             v.
14
     HODA SAMUEL,                                          DATE: March 11, 2014
15                                                         TIME: 1:30 p.m.
                                   Defendant.              COURT: Hon. John A. Mendez
16

17
                                                    STIPULATION
18
            Plaintiff United States of America, by and through its counsel of record, and defendant Hoda
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     Samuel, by and through her counsel of record, hereby stipulate and request that the Court continue the
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     restitution hearing in this case from March 11, 2014 to April 29, 2014, at 1:30 pm.
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            Defendant Hoda Samuel is currently incarcerated at the Federal Medical Center in Carswell,
22
     Texas, and she desires to participate in the restitution hearing in this matter. It is anticipated that
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     additional time will be required to arrange access for Ms. Samuel to participate in the hearing via video
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     teleconferencing from Texas. Accordingly, the parties request that the hearing be set for April 29, 2014,
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     at 1:30 pm.
26
            The parties make this request mindful of the fact that the Court has previously indicated that it
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     intends to issue an order of restitution, but that for reasons previously stated it is not ready to determine
28
     that amount. The Supreme Court has permitted the imposition of restitution more than 90 days beyond
       STIPULATION CONTINUING RESTITUTION HEARING           1
          Case 2:10-cr-00223-JAM-KJN Document 555 Filed 03/05/14 Page 2 of 2


 1 the date of sentencing in such circumstances. Dolan v. United States, 560 U.S. 605 (2010).

 2         IT IS SO STIPULATED.

 3
     Dated: March 3, 2014                                 BENJAMIN B. WAGNER
 4                                                        United States Attorney
 5
                                                          /s/ PHILIP FERRARI
 6                                                        PHILIP FERRARI
                                                          Assistant United States Attorney
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 8
     Dated: March 3, 2014                                 /s/ Philip A. Ferrari for
 9                                                        MATTHEW GILMARTIN, ESQ.
10                                                        Counsel for Defendant
                                                          HODA SAMUEL
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14                                         FINDINGS AND ORDER

15         IT IS SO FOUND AND ORDERED this 4th day of March, 2014

16
                                                   /s/ John A. Mendez
17                                                 THE HONORABLE JOHN A. MENDEZ
                                                   UNITED STATES DISTRICT COURT JUDGE
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      STIPULATION CONTINUING RESTITUTION HEARING      2
